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                           United States District Court
                            Western District of Texas
                                 Austin Division

Fund Texas Choice, et al.,                    §
                                              §
      Plaintiffs,                             §
                                              §
v.                                            §
                                                                           No. 1-22-CV-859-RP
                                              §
Ken Paxton, in his official capacity          §
of Attorney General, et al.                   §
                                              §
     Defendants.                              §


         [Proposed] Order Granting Attorney General Paxton’s
                           Motion to Stay


       On this day, the Court considered Attorney General Paxton’s Motion to Stay. Having

reviewed the Motion, any response, and the pleadings on file, the Court is of the opinion that the

Motion should be, and is hereby, GRANTED.

       It is, therefore, ORDERED that the Court’s Order requiring the testimony of Attorney

General Paxton, and the Parties’ obligation to confer on the means by which the Attorney

General’s testimony will be taken, is hereby STAYED.



                                                               _______________________
                                                                     Honorable Robert Pitman
                                                                   United States District Judge
